           Case 1:19-vv-00069-UNJ Document 32 Filed 04/17/20 Page 1 of 4




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0069V
                                         UNPUBLISHED


    JEFFREY BARTON,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: March 18, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES1

       On January 15, 2019, Jeffrey Barton filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury related to
vaccine administration (“SIRVA”) as a result of an October 11, 2016 influenza (“flu”)
vaccine. Petition at 1-4. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

        On December 12, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On March 17, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $91,934.68
($90,000.00 for pain and suffering and $1,934.68 for unreimbursed expenses). Proffer
at 1. In the Proffer, Respondent represented that Petitioner agrees with the proffered

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
           Case 1:19-vv-00069-UNJ Document 32 Filed 04/17/20 Page 2 of 4



award. Id. Based on the record as a whole, I find that Petitioner is entitled to an award
as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $91,934.68 ($90,000.00 for pain and suffering and $1,934.68 for
unreimbursed expenses) in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
           Case 1:19-vv-00069-UNJ Document 32 Filed 04/17/20 Page 3 of 4



               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
JEFFREY BARTON,                     )
                                    )
       Petitioner,                  )    No. 19-69V ECF
                                    )
              v.                    )    Chief Special Master Corcoran
                                    )
SECRETARY OF HEALTH                 )
AND HUMAN SERVICES,                 )
                                    )
       Respondent.                  )
___________________________________ )

                      PROFFER ON AWARD OF COMPENSATION 1

I.     Procedural History

       On January 15, 2019, Jeffrey Barton (“petitioner”) filed a petition for compensation

(“petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34, as amended. He alleges that, as a result of receiving the influenza (“flu”) vaccine on October

11, 2016, he suffered from a left shoulder injury related to vaccine administration (“SIRVA”).

See Petition. On December 11, 2019, respondent filed his Vaccine Rule 4(c) report, conceding a

Table injury for SIRVA. On December 12, 2019, Chief Special Master Corcoran issued a ruling

on entitlement, finding that petitioner was entitled to compensation for SIRVA.

II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $91,934.68 ($90,000.00 for pain and suffering, and $1,934.68 for unreimbursed

expenses). This amount represents all elements of compensation to which petitioner would be




       1
         This Proffer does not include attorneys’ fees and costs, which the parties intend to
address after the Damages Decision is issued.
           Case 1:19-vv-00069-UNJ Document 32 Filed 04/17/20 Page 4 of 4




entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

III.   Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $91,934.68, in the form of a check payable to petitioner. 2

Petitioner agrees.

                                             Respectfully submitted,

                                             JOSEPH H. HUNT
                                             Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             CATHARINE E. REEVES
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             HEATHER L. PEARLMAN
                                             Assistant Director
                                             Torts Branch, Civil Division

                                             /s/Darryl R. Wishard
                                             DARRYL R. WISHARD
                                             Senior Trial Attorney
                                             Torts Branch, Civil Division
                                             U. S. Department of Justice
                                             P.O. Box l46, Benjamin Franklin Station
                                             Washington, D.C. 20044-0146
                                             Direct dial: (202) 616-4357
Dated: March 17, 2020                        Fax: (202) 616-4310




       2
          Should petitioner die prior to entry of judgment, respondent would oppose any award
for future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.

                                                 2
